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      In The United States Court of Federal Claims
                                           No. 13-306C

                                      (Filed: July 26, 2013)
                                           __________
COMPLETE BUILDING CORPORATION,

                      Plaintiff,

       v.

THE UNITED STATES,

                      Defendant.
                                           __________

                              SPECIAL PROCEDURES ORDER
                                       __________

       The parties are advised that all references in this order to the Rules of the United States
Court of Federal Claims (RCFC) are local rules of this court, effective July 2, 2012. Therefore,
and pursuant to RCFC 1, 16, and 83(b), as well as Appendix A, it is ordered that each party shall
comply with the following procedures:

(1)    Document Preservation.

       The court hereby orders the parties to take all necessary action to preserve relevant
evidence in this matter. Violation of this provision may lead to the imposition of sanctions under
RCFC 37 and this court=s inherent authority.

(2)    Motion to Dismiss/More Definite Statement Involving RCFC 9.

        In any motion to dismiss a complaint under RCFC 12(b) or for a more definite statement
under RCFC 12(e), where the motion is based in whole or in part on plaintiff’s alleged failure to
comply with any of the requirements in RCFC 9(i)–(p), the moving party must include a
certification that it has made a reasonable effort to discuss the motion with the opposing party
and sought, in lieu thereof, a motion by the latter party under RCFC 15(a) to amend the
complaint to remedy the alleged deficiency.

(3)    Disclosure of Pending Litigation(s).

        In the preliminary status report required by RCFC Appendix A, ¶ 4, the parties shall
indicate whether any other cases related to this litigation are pending in other jurisdictions. This
information is requested, in part, to determine whether any issues will arise in this case involving
28 U.S.C. § 1500; see also United States v. Tohono O’odham Nation, 131 S. Ct. 1723 (2011).
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(4)    Pretrial Rules.

       (a)     Counsel shall familiarize themselves with the Rules of the United States Court of
               Federal Claims governing pretrial procedure, particularly RCFC 5-7 (subparts
               inclusive), 11, 16, and 26, and Appendix A, in order to ensure full and timely
               compliance with applicable deadlines, filing procedures, and other requirements.
               Note that the CFC rules, though designed to closely track the Federal Rules of
               Civil Procedure, are not identical to those rules.

       (b)     The court expects that defendant will not delay filing any motions to dismiss for
               lack of jurisdiction under RCFC 12(b)(1) and that it will thereby avoid
               unnecessarily interrupting the orderly flow of litigation and imposing unnecessary
               costs on plaintiff. See Northrop Grumman Computing Sys., Inc. v. United States,
               2011 WL 2508241 at * 8 (Fed. Cl. June 23, 2011).

(5)    Electronic Digital Recording.

         Where electronic digital recording (EDR) is used to record a form of proceeding, the
digital recording is the official court record and all references to the proceeding shall be to that
record (e.g., “Oral Argument of October 29, 2009, Argument of Ms. Smith at
2:46:13 - 2:46:50”). Absent special circumstances, which should be raised in an appropriate
motion, the court will only accept for filing transcripts containing the certification found in
RCFC Form 3C. A party requesting the latter form of transcript will not be permitted to recover
the cost thereof.

 (6)   Communications with the Court.

        Unless invited or otherwise ordered by the court, communications with these chambers
shall be by formal motion or other formal submission, filed with the clerk=s office or in open
court. In particular, letters will not be accepted in lieu of motions without prior authorization.
Notwithstanding this provision, counsel may, at any time, jointly request a conference with the
judge to discuss a dispute or other pending matter. Scheduling needs or questions should be
directed to Sak Im at (202) 357-6492. Questions regarding CFC filing requirements and other
standard court procedures should be directed to the clerk=s office at (202) 357-6406. Questions
regarding the Case Management/Electronic=s Case Filing (CM/ECF) system should be directed to
the CM/ECF help desk at a toll free number at 866-784-6273 or at (202) 357-6402.

(7)    Enlargements of Time; Page Limits.

       (a)     Enlargements. The court intends to follow strictly any schedule established in the
               case and to apply strictly the rules regarding requests for enlargements of time.
               Requests for enlargement should be filed as early as possible, generally at least
               five business days in advance.

               The burden of establishing grounds for an enlargement is on the movant and
               motions are not granted automatically. Each request for an enlargement must
               specify the grounds. See RCFC 6.1. Requests for enlargement filed out of time


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              are highly disfavored and will be granted only where a specific allegation of
              excusable neglect is substantiated. See RCFC 6(b). In addition, motions for
              enlargement filed out of time must contain a certification that:

              (i)     in the case of a motion filed by counsel for the plaintiff, the client has been
                      notified that the motion for enlargement is being filed out of time; or

              (ii)    in the case of a motion filed by counsel for the defendant, the supervising
                      Deputy Assistant Attorney General at the Department of Justice has been
                      notified that the motion for enlargement is being filed out of time.

              In granting enlargements, the court may order that any further requests for
              enlargement be signed by both the attorneys of record and the party (or in the case
              of the defendant, the supervising Deputy Assistant Attorney General at the
              Department of Justice).

      (b)     Page Limits. Briefs and memoranda in support of motions are limited in length as
              set forth in RCFC 5.4. Leave of court is necessary to exceed these page limits.
              RCFC 5.4. When requesting leave of court to exceed the page limit, counsel must
              specify the number of additional pages required.

(8)    Professional Conduct.

        At all times during this proceeding, counsels= conduct should be characterized by
personal courtesy and professional integrity in the fullest sense of those terms. In fulfilling their
duty to represent their clients vigorously as lawyers, counsel should be mindful of their
obligations to the administration of justice. Conduct that may be characterized as uncivil,
abrasive, abusive, hostile or obstructive impedes the fundamental goal of resolving disputes
rationally, peacefully and efficiently. Such conduct will not be tolerated and may result in
sanctions being imposed. See, e.g., RCFC 37.

(9)    Video-Conferencing, Electronic Courtroom and Court Website.

        Both video-conferencing and an electronic courtroom are available at the courthouse in
Washington, D.C. The court is amenable to the use of these state-of-the-art facilities not only for
trials with a venue in Washington, D.C., but also for status conferences and oral arguments. The
scheduling of these facilities should be coordinated with Sak Im at (202) 357-6492. Technical
questions concerning the court's video-conferencing equipment and the capacities of the
electronic courtroom should be directed to the clerk's office at (202) 357-6406. Other helpful
information about the court, including a copy of the court's local rules, may be found at
www.uscfc.uscourts.gov.

       IT IS SO ORDERED.

                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge


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